                                      UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF TENNESSEE
                                             NASHVILLE DIVISION

     In re:                                                              §           Case No. 18-04526-RM3-7
                                                                         §
     IHT Liquidation, LLC                                                §
                                                                         §
                                                                         §
                                      Debtor(s)                          §

                                   SUMMARY OF TRUSTEE’S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION

              The Final Report shows receipts of                                                                                  $504,372.16
              and approved disbursements of                                                                                       $149,124.94
              leaving a balance on hand of1:                                                                                      $355,247.22


              Claims of secured creditors will be paid as follows:

 Claim            Claimant                                     Claim                Allowed                 Interim                    Proposed
 No.                                                         Asserted              Amount of             Payments to                    Amount
                                                                                      Claim                    Date
                  State of Georgia -                             $11.76                   $23.52                   $23.52                        $0.00
                  Sales Tax
                  TN Department of                             $843.33                  $889.00                  $889.00                         $0.00
                  Revenue


                                                     Total to be paid to secured creditors:                                             $0.00
                                                                       Remaining balance:                                         $355,247.22

              Applications for chapter 7 fees and administrative expenses have been filed as follows:

 Reason/Applicant                                                                      Total                Interim                    Proposed
                                                                                   Requested             Payments to                   Payment
                                                                                                               Date
 John C. McLemore, Trustee Fees                                                    $28,468.61                        $0.00           $28,468.61
 John C. McLemore, Trustee Expenses                                                  $4,039.06                       $0.00             $4,039.06
 Patterson Intellectual Property Law, P.C.,                                          $4,280.00                $4,280.00                          $0.00
 Attorney for Trustee Fees
 Thompson Burton PLLC - Expenses, Attorney                                                  $7.75                    $7.75                       $0.00


 1
   The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement will be
 distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum
 compensation set forth under 11 U.S.C. § 326(a) on account of disbursement of the additional interest.
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 for Trustee Expenses
 Kraft & Company, PLLC - Fee, Accountant for               $11,138.75      $11,138.75             $0.00
 Trustee Fees
 Kraft & Company, PLLC - Expenses,                          $1,687.32          $1,687.32          $0.00
 Accountant for Trustee Expenses
 Bill Colson Auction & Realty Co., Inc.,                      $348.13           $348.13           $0.00
 Auctioneer for Trustee Fees
 U.S. Bankruptcy Court Clerk, Clerk of the Court              $181.00           $181.00           $0.00
 Costs
 Other: Patterson Intellectual Property Law, PC,            $3,740.00          $3,740.00          $0.00
 Attorney for Trustee Fees
 Other: Thompson Burton PLLC, Attorney for                  $1,264.00          $1,264.00          $0.00
 Trustee Fees
 Other: Thompson Burton PLLC - Fee, Attorney               $12,615.00      $12,615.00             $0.00
 for Trustee Fees
 Other: Thompson Burton PLLC - Fees, Attorney              $11,494.50      $11,494.50             $0.00
 for Trustee Fees
 Other: Thompson Burton PLLC - Expenses,                      $198.75           $198.75           $0.00
 Attorney for Trustee Expenses
 Other: Kraft & Company, PLLC, Accountant for               $3,157.25             $0.00       $3,157.25
 Trustee Fees
 Other: Kraft & Company, PLLC, Accountant for               $3,171.60             $0.00       $3,171.60
 Trustee Expenses


                     Total to be paid for chapter 7 administrative expenses:                $38,836.52
                                                        Remaining balance:                 $316,410.70

        Applications for prior chapter fees and administrative expenses have been filed as
 follows: NONE



                  Total to be paid to prior chapter administrative expenses:                     $0.00
                                                        Remaining balance:                 $316,410.70

        In addition to the expenses of administration listed above as may be allowed by the
 Court, priority claims totaling $34,772.83 must be paid in advance of any dividend to general
 (unsecured) creditors.

          Allowed priority claims are:

 Claim         Claimant                                Allowed Amt.         Interim           Proposed
 No.                                                        of Claim     Payments to          Payment
                                                                               Date
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          17 JEFFREY R FISHER                              $12,850.00           $0.00     $12,850.00
          25 STATE OF DELAWARE                                $156.16           $0.00       $156.16
          32 JOHN E BLOUNT                                  $8,916.67           $0.00      $8,916.67
          41 RODEWALD, ALBERT                              $12,850.00           $0.00     $12,850.00


                                         Total to be paid to priority claims:            $34,772.83
                                                        Remaining balance:              $281,637.87

         The actual distribution to wage claimants included above, if any, will be the proposed
 payment less applicable withholding taxes (which will be remitted to the appropriate taxing
 authorities).

        Timely claims of general (unsecured) creditors totaling $11,131,946.02 have been
 allowed and will be paid pro rata only after all allowed administrative and priority claims have
 been paid in full. The timely allowed general (unsecured) dividend is anticipated to be 2.5
 percent, plus interest (if applicable) .

          Timely allowed general (unsecured) claims are as follows:

 Claim         Claimant                                Allowed Amt.          Interim       Proposed
 No.                                                        of Claim      Payments to       Amount
                                                                                Date
            2 CIT Finance, LLC                              $7,220.19           $0.00       $182.67
            3 GARY B FERGUSON                             $218,702.15           $0.00      $5,533.16
           3a GARY B FERGUSON                             $218,702.16           $0.00      $5,533.16
            5 Sherrard Roe Voigt & Harbison                $74,974.27           $0.00      $1,896.85
          10 ULINE SHIPPING SUPPLIES                          $168.49           $0.00          $4.26
          11 CRAIG, MARGARET C                             $70,636.00           $0.00      $1,787.09
          13 OXFORD UNIVERSITY PRESS                       $17,204.19           $0.00       $435.27
          14 600 McClure                                   $57,162.00           $0.00      $1,446.20
          16 Patterson Intellectual Property Law,          $47,801.56           $0.00      $1,209.38
             P.C.
         17a JEFFREY R FISHER                             $201,645.56           $0.00      $5,101.62
          19 KEITH MULLINS                                $350,000.00           $0.00      $8,854.99
          22 CARR RIGGS & INGRAM LLC                       $10,600.00           $0.00       $268.18
          24 MERCY SURGICAL DRESSING                        $6,990.26           $0.00       $176.85
             GROUP INC.
          26 Kathy Follin                                 $142,822.78           $0.00      $3,613.41
          28 Robert Lipman                              $1,521,101.03           $0.00     $38,483.81
          29 Robert Lipman                                $991,667.00           $0.00     $25,089.14
          30 Graymar Investors, LLC                     $3,786,626.00           $0.00     $95,801.51
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          31 JOHN E BLOUNT                                 $12,965.00           $0.00        $328.01
          34 OLIVER C CARMICHAEL III                      $201,645.56           $0.00      $5,101.63
          36 STEPHEN F FLATT                               $69,287.50           $0.00      $1,752.97
         41a RODEWALD, ALBERT                              $80,900.00           $0.00      $2,046.77
          42 RODEWALD, ALBERT                             $640,406.41           $0.00     $16,202.26
          43 RODEWALD, ALBERT                              $34,631.07           $0.00        $876.16
          45 RODEWALD, ALBERT                           $2,368,086.84           $0.00     $59,912.52


                        Total to be paid to timely general unsecured claims:            $281,637.87
                                                        Remaining balance:                    $0.00

        Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed
 and will be paid pro rata only after all allowed administrative, priority and timely filed general
 (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0
 percent, plus interest (if applicable) .

          Tardily filed general (unsecured) claims are as follows: NONE



                  Total to be paid to tardily filed general unsecured claims:                  $0.00
                                                         Remaining balance:                    $0.00

         Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
 ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata
 only after all allowed administrative, priority and general (unsecured) claims have been paid in
 full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus
 interest (if applicable) .

        Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
 ordered subordinated by the Court are as follows: NONE



              Total to be paid for subordinated claims:                                        $0.00
                                    Remaining balance:                                         $0.00




                                           Prepared By: /s/ John C. McLemore
                                                        Trustee
 John C. McLemore
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 2000 Richard Jones Rd., Ste. 250
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 STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
 exemption 5 C.F.R. § 1320.4(a)(2) applies.




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